                  Case 24-20022
     Fill in this information               Doc
                              to identify your    1
                                               case:      Filed 01/31/24 Entered 01/31/24 15:37:40                            Desc Main
                                                            Document     Page 1 of 47
     United States Bankruptcy Court for the:

     ____________________
     District of Wyoming District of (State)
                                     _________________

     Case number (If known): _________________________ Chapter you are filing under:
                                                              Chapter 7
                                                             
                                                             ✔ Chapter 11
                                                              Chapter 12                                                                Check if this is an
                                                              Chapter 13                                                                   amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         Pandora   Marketing LLC
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                                 Mailing address, if different from principal place
                                                                                                        of business
                                               26970 Aliso Viejo Pkwy                                   _______________________________________________
                                            ______________________________________________
                                            Number     Street                                           Number     Street

                                               Ste. 150
                                            ______________________________________________              _______________________________________________
                                                                                                        P.O. Box

                                               Aliso Viejo                  CA     92656
                                            ______________________________________________              _______________________________________________
                                            City                        State    ZIP Code               City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Orange County
                                            ______________________________________________
                                            County                                                      _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                 www.linkedin.com/company/pandora-marketing-llc
                                            ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
                Case 24-20022           Doc 1         Filed 01/31/24 Entered 01/31/24 15:37:40                             Desc Main
                                                        Document     Page 2 of 47
                Pandora Marketing LLC
Debtor          _______________________________________________________                       Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            8742
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                       
                                                       ✔   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                      tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                    
                                                          ✔
                                                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                          of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When              __________________
      List all cases. If more than 1,                                                                                       MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
               Case 24-20022             Doc 1         Filed 01/31/24 Entered 01/31/24 15:37:40                               Desc Main
                                                         Document     Page 3 of 47
               Pandora Marketing LLC
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




11. Why is the case filed in this         Check all that apply:
   district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have           
                                          ✔ No
   possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                     Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                                Number       Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________      _______     ________________
                                                                                City                                         State       ZIP Code


                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                             Contact name       ____________________________________________________________________

                                                             Phone              ________________________________




          St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                Check one:
   available funds                         Funds will be available for distribution to unsecured creditors.
                                           ✔


                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                           1-49
                                           ✔
                                                                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                           50-99                            5,001-10,000                            50,001-100,000
   creditors
                                           100-199                          10,001-25,000                           More than 100,000
                                           200-999

                                           $0-$50,000                       $1,000,001-$10 million
                                                                            ✔
                                                                                                                      $500,000,001-$1 billion
15. Estimated assets
                                           $50,001-$100,000                 $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                           $100,001-$500,000                $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million              $100,000,001-$500 million               More than $50 billion



 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
             Case 24-20022              Doc 1           Filed 01/31/24 Entered 01/31/24 15:37:40                               Desc Main
                                                          Document     Page 4 of 47
             Pandora Marketing LLC
Debtor       _______________________________________________________                            Case number (if known)_____________________________________
             Name



                                          $0-$50,000                         $1,000,001-$10 million
                                                                                 ✔
                                                                                                                        $500,000,001-$1 billion
16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


           Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                             petition.
   debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            01/31/2024
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ William Wilson
                                             _____________________________________________               William Wilson
                                                                                                        _______________________________________________
                                             Signature of authorized representative of debtor           Printed name

                                                    Chairman of Board
                                             Title _________________________________________




18. Signature of attorney
                                          /s/ seth shumaker
                                             _____________________________________________              Date         01/31/2024
                                                                                                                     _________________
                                              Signature of attorney for debtor                                       MM   / DD / YYYY



                                              seth shumaker
                                             _________________________________________________________________________________________________
                                             Printed name
                                              Seth Shumaker, Attorney at Law
                                             _________________________________________________________________________________________________
                                             Firm name
                                              2 N. Main Ste. 103
                                             _________________________________________________________________________________________________
                                             Number     Street
                                              Sheridan
                                             ____________________________________________________             WY            82801
                                                                                                            ____________ ______________________________
                                             City                                                           State        ZIP Code

                                              (307) 675-1233
                                             ____________________________________                              sheridanwyolaw@gmail.com
                                                                                                            __________________________________________
                                             Contact phone                                                  Email address



                                              6-3818                                                          WY
                                             ______________________________________________________ ____________
                                             Bar number                                             State




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
                     Case 24-20022                             Doc 1              Filed 01/31/24 Entered 01/31/24 15:37:40                                                                    Desc Main
                                                                                    Document     Page 5 of 47

 Fill in this information to identify the case:

                Pandora Marketing LLC
  Debtor name _________________________________________________________________

                                          District of Wyoming
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                          800,000.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                       6,541,452.65
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                         7,341,452.65
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                        1,235,684.22
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                        6,741,822.13



4. Total liabilities ...........................................................................................................................................................................        7,977,506.35
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
                  Case 24-20022                Doc 1      Filed 01/31/24 Entered 01/31/24 15:37:40                                 Desc Main
                                                            Document     Page 6 of 47
      Fill in this information to identify the case:

                    Pandora Marketing LLC
      Debtor name __________________________________________________________________

                                              District of Wyoming
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                        Check if this is an
      Case number (If known):     _________________________                                                                                 amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                     12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete             Name, telephone number,      Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code       and email address of         (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                               creditor contact             debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                            professional        unliquidated, total claim amount and deduction for value of
                                                                            services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                 Total claim, if    Deduction for     Unsecured
                                                                                                                 partially          value of          claim
                                                                                                                 secured            collateral or
                                                                                                                                    setoff
     Bradford Edwards & Varlack LLP                                       Debt Counseling /
1    12 East 49th St.                                                     Attorneys
     11th Floor
                                                                                                                                                     1,837,738.76
     New York, NY, 10017


     Internal Revenue Service                                             Taxes & Other
2    Department of the Treasury                                           Government Units
     Ogden, UT, 84201-0052
                                                                                                                                                     1,181,775.36


     Law Office of Ellis George Cipollone                                 Debt Counseling /
3    2121 Avenue of the Stars                                             Attorneys
     #3000
                                                                                                                                                     934,434.06
     Los Angeles, CA, 90067


     One America                                                          Suppliers or Vendors
4    One America Square
     P.O. Box 368                                                                                                                                    850,000.00
     Indianapolis, IN, 46206


     DIVVY                                                                Suppliers or Vendors
5    6220 America Center Dr.
     Ste. 100                                                                                                                                        744,770.33
     San Jose, CA, 9502

     American Express                                                     Credit Card Debt
6    20500 Belshaw Ave.
     Carson, CA, 90746                                                                                                                               503,910.09


     Everlaw                                                              Debt Counseling /
7    1501 North Plano Rd.                                                 Attorneys
     Ste. 100                                                                                                                                        373,312.00
     Richardson, TX, 75081

     AVM Investment Group LLC                                             Suppliers or Vendors
8    20162 SW Birch St.
     Ste. 180                                                                                                                                        255,931.90
     Newport Beach, CA, 92660




    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 1
                    Case 24-20022              Doc 1      Filed 01/31/24 Entered 01/31/24 15:37:40                                 Desc Main
                                                            Document     Page 7 of 47
                     Pandora Marketing LLC
    Debtor          _______________________________________________________                      Case number (if known)_____________________________________
                    Name




     Name of creditor and complete             Name, telephone number,      Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code       and email address of         (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                               creditor contact             debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                            professional        unliquidated, total claim amount and deduction for value of
                                                                            services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                 Total claim, if    Deduction for     Unsecured
                                                                                                                 partially          value of          claim
                                                                                                                 secured            collateral or
                                                                                                                                    setoff
     Nardella & Nardella PLLC                                             Debt Counseling /
9    135 W. Central Blvd.                                                 Attorneys
     Unit 300                                                                                                                                        191,453.93
     Orlando, FL, 32801

     Ganett Media                                                         Suppliers or Vendors
10 7950 Jones Branch Dr.
     McLean, VA, 22107                                                                                                                               160,000.00



     Stripe                                                               Suppliers or Vendors
11 354 Oyster Point Blvd.
     South San Francisco, CA, 94080                                                                                                                  124,831.26


     Sinclair Broadcast Group Inc.                                        Suppliers or Vendors
12 10706 Beaver Dam Road
     Cockeysville, MD, 21030                                                                                                                         116,000.00



     Broadway Advance                                                     Monies Loaned /
13 241 37th St.
                                                                          Advanced
     Brooklyn, NY, 11232                                                                                                                             108,000.00


     Logik Systems Inc.                                                   Suppliers or Vendors
14 Dept. LA 25121
     Pasadena, CA, 91185                                                                                                                             108,000.00


     American Best Credit                                                 Monies Loaned /
15 30211 Avenida De Las Banderas                                          Advanced
     Ste. 200
                                                                                                                                                     84,851.00
     Rancho Santa Margarita, CA, 92688

     CloudFund LLC                                                        Monies Loaned /
16 400 Rella Blvd.                                                        Advanced
     Ste. 165-101                                                                                                                                    68,841.25
     Suffern, NY, 10901

     Mr. Advance LLC                                                      Monies Loaned /
17 35-12 19th Ave.                                                        Advanced
     Ste. 3W
     Astoria, NY, 11105                                                                                                                              62,935.25


     Mark Weaver                                                          Wages, Salaries,        Disputed
18 2 MacArthur Place                                                      Commissions
     Ste. 800                                                                                                                                        44,504.35
     Santa Ana, CA, 92707

     Wilson Elser Moskowitz Edelman & Dicker                              Debt Counseling /
19 150 E. 42nd St.                                                        Attorneys
     New York, NY
                                                                                                                                                     43,130.16


     Intermedia Advertising                                               Suppliers or Vendors
20 22120 Carendon St.
     #3000                                                                                                                                           40,000.00
     Woodland Hills, CA, 91367




    Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 2
                Case 24-20022                  Doc 1      Filed 01/31/24 Entered 01/31/24 15:37:40                               Desc Main
                                                            Document     Page 8 of 47
  Fill in this information to identify the case:

               Pandora Marketing LLC
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          District of Wyoming
  Case number (If known):     _________________________                                                                                Check if this is an
                                                                                                                                          amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                        12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :   Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

    No. Go to Part 2.
    Yes. Fill in the information below.
    ✔




     All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                    interest

2. Cash on hand                                                                                                                    $______________________
                                                                                                                                     0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                Type of account                Last 4 digits of account number
          Bank of America
    3.1. _________________________________________________  Checking
                                                           ______________________              5
                                                                                               ____  8
                                                                                                    ____ 5
                                                                                                         ____ 4
                                                                                                              ____                 $______________________
                                                                                                                                     Unknown
          See continuation sheet
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____                   0.00
                                                                                                                                   $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                     $______________________
    4.2. _____________________________________________________________________________________________________                     $______________________

5. Total of Part 1                                                                                                                   0.00
                                                                                                                                   $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :   De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

    No. Go to Part 3.
    ✔


    Yes. Fill in the information below.
                                                                                                                                     Current value of
                                                                                                                                     debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                   $______________________
    7.2._________________________________________________________________________________________________________                   $_______________________


   Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                   page 1
                Case 24-20022                 Doc 1        Filed 01/31/24 Entered 01/31/24 15:37:40 Desc Main
Debtor           Pandora Marketing LLC                       Document
                _______________________________________________________   Page 9 of 47
                                                                                    Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔


                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:     440,874.13
                                  ____________________________    0.00
                                                               – ___________________________          = ........                 $______________________
                                                                                                                                    440,874.13
                                    face amount                  doubtful or uncollectible accounts

     11b. Over 90 days old:         8,590,578.52
                                   ___________________________    2,500,000.00
                                                               – ___________________________          = ........                 $______________________
                                                                                                                                    6,090,578.52
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
                                                                                                                                    6,531,452.65
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                page 2
               Case 24-20022                 Doc 1         Filed 01/31/24 Entered 01/31/24 15:37:40 Desc Main
                Pandora Marketing LLC
Debtor                                                      Document
               _______________________________________________________   Page 10 of Case
                                                                                     47 number (if known)_____________________________________
               Name




Pa rt 5 :   I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      ✔


      Yes. Fill in the information below.
      General description                              Date of the last         Net book value of        Valuation method used      Current value of
                                                       physical inventory       debtor's interest        for current value          debtor’s interest
                                                                                (Where available)
19. Raw materials
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

20. Work in progress
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

22. Other inventory or supplies
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________


23. Total of Part 5                                                                                                                $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
      No
      Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value _______________              Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
      No
      Yes
Pa rt 6 :   Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                       Net book value of        Valuation method used      Current value of debtor’s
                                                                                debtor's interest        for current value          interest
                                                                                (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________               $________________         ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________               $________________         ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________               $________________         ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________               $________________         ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________               $________________         ____________________    $______________________


Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                 page 3
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Debtor
                Pandora Marketing LLC                       Document
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                                                                                     47 number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                               $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of    Valuation method          Current value of debtor’s
                                                                                 debtor's interest    used for current value    interest
                                                                                 (Where available)
39. Office furniture

                                                                                  $________________   ____________________     $______________________
40. Office fixtures

                                                                                  $________________   ____________________     $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
computers/office equipment/furniture                                                                                             10,000.00
                                                                                  $________________   ____________________     $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________    ____________________    $______________________
    42.2___________________________________________________________               $________________    ____________________    $______________________
    42.3___________________________________________________________               $________________    ____________________    $______________________
43. Total of Part 7.
                                                                                                                                 10,000.00
                                                                                                                               $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                             page 4
               Case 24-20022                 Doc 1        Filed 01/31/24 Entered 01/31/24 15:37:40 Desc Main
                Pandora Marketing LLC
 Debtor                                                    Document
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                                                                                    47 number (if known)_____________________________________
               Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      ✔


      Yes. Fill in the information below.

    General description                                                     Net book value of     Valuation method used    Current value of
                                                                            debtor's interest     for current value        debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                            (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________          $________________     ____________________   $______________________

    47.2___________________________________________________________          $________________     ____________________   $______________________

    47.3___________________________________________________________          $________________     ____________________   $______________________

    47.4___________________________________________________________          $________________     ____________________   $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________           $________________     ____________________   $______________________

    48.2__________________________________________________________           $________________     ____________________   $______________________

49. Aircraft and accessories

    49.1__________________________________________________________           $________________     ____________________   $______________________

    49.2__________________________________________________________           $________________     ____________________   $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)


    ______________________________________________________________           $________________     ____________________   $______________________


51. Total of Part 8.
                                                                                                                          $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
      No
      Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
      No
      Yes




 Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                       page 5
                 Case    24-20022
                 Pandora Marketing LLC
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 Debtor                                                        Document
                  _______________________________________________________   Page 13 of Case
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                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       5243 Windsor Ave., Phoenix, AZ 85008
55.1
                                                                                                                                    800,000.00
                                                                                     $_______________     ____________________     $_____________________

55.2

                                                                                     $_______________     ____________________     $_____________________

55.3

                                                                                     $_______________     ____________________     $_____________________


56. Total of Part 9.                                                                                                                800,000.00
                                                                                                                                   $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔ No
        Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔ No
        Yes
Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                          Net book value of    Valuation method         Current value of
                                                                                     debtor's interest    used for current value   debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
                                                                                                                                     Unknown
    Internet domain and website
    ______________________________________________________________                   $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations                                                                             Unknown
    Customer Lists
    ______________________________________________________________                   $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
       ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.                                                                                                                0.00
                                                                                                                                   $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                            page 6
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Debtor            Pandora Marketing LLC                     Document
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                                                                                     47 number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
    
    ✔ Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔ No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔ No
     Yes
Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     No. Go to Part 12.
      ✔


     Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
71. Notes receivable
     Description (include name of obligor)
                                                                      _______________ –   __________________________         =   $_____________________
     ______________________________________________________
                                                                      Total face amount   doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                 $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                   $_____________________
   ____________________________________________________________                                                                   $_____________________
78. Total of Part 11.
                                                                                                                                  $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                               page 7
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                   Pandora Marketing LLC
Debtor                                                                Document
                  _______________________________________________________          Page 15 of Case
                                                                                               47 number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                       Current value
                                                                                                    personal property                      of real property
                                                                                                         0.00
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         6,531,452.65
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         0.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         10,000.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                            800,000.00
                                                                                                                                          $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                      0.00
90. All other assets. Copy line 78, Part 11.                                                      + $_______________
                                                                                                         6,541,452.65                      800,000.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           + 91b. $________________

                                                                  7,341,452.65                                                                                   7,341,452.65
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................   $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                             page 8
               Case 24-20022               Doc 1      Filed 01/31/24 Entered 01/31/24 15:37:40                Desc Main
                Pandora Marketing LLC                  Document     Page 16 of 47
 Debtor 1                                                          _                 Case number (if known)
               First Name    Middle Name      Last Name



                                                   Continuation Sheet for Official Form 206 A/B

3) Checking, savings, money market, or financial brokerage accounts

General description                         Type of account                      Last 4 digits of account
                                                                                 number

Bank of America                             Checking                             4656

Balance: Unknown

Sunwest Bank                                Checking                             3291

Balance: Unknown

Bank of America                             Checking                             6995

Balance: 0.00

Bank of America                             Checking                             5695

Balance: Unknown

Wells Fargo                                 Checking                             4113

Balance: Unknown

Bank of America                             Checking                             8003

Balance: Unknown

Bank of America                             Checking                             7994

Balance: Unknown

Bank of America                             Checking                             2126

Balance: Unknown

Wells Fargo                                 Checking                             9189

Balance: Unknown

Wells Fargo                                 Savings                              3143

Balance: Unknown




Official Form 206 A/B                                           Schedule A/B: Property
                   Case 24-20022                     Doc 1        Filed 01/31/24 Entered 01/31/24 15:37:40                                   Desc Main
                                                                   Document     Page 17 of 47
  Fill in this information to identify the case:
              Pandora Marketing LLC
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: District of Wyoming

  Case number (If known):       _________________________                                                                                             Check if this is an
                                                                                                                                                          amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                              12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                               Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                Amount of claim           Value of collateral
                                                                                                                               Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien          of collateral.            claim


      __________________________________________                                                                               $__________________        $_________________

     Creditor’s mailing address

      ________________________________________________________

      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                  _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred           __________________           No
    Last 4 digits of account                                      Yes
    number                   _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                 No
    same property?                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     No
                                                                 As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
                                                                                                                               $__________________        $_________________
      __________________________________________
     Creditor’s mailing address
      ________________________________________________________

      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                      _________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                 No
    same property?                                                Yes
     No                                                         Is anyone else liable on this claim?
     Yes. Have you already specified the relative                No
           priority?
                                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H).
          No. Specify each creditor, including this
                creditor, and its relative priority.             As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
          Yes. The relative priority of creditors is             Unliquidated
                   specified on lines _____                       Disputed
 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                        0
                                                                                                                                                            page 1 of ___
                    Case 24-20022            Doc 1       Filed 01/31/24 Entered 01/31/24 15:37:40                             Desc Main
   Fill in this information to identify the case:         Document     Page 18 of 47

   Debtor
                    Pandora Marketing LLC
                    __________________________________________________________________

                                           District of Wyoming
   United States Bankruptcy Court for the: ________________________________

   Case number       ___________________________________________
    (If known)

                                                                                                                                     Check if this is an
                                                                                                                                        amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                    12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
     No. Go to Part 2.
    
    ✔ Yes. Go to line 2.


 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           1,181,775.36
    Internal Revenue Service                                                                                                        $_________________
                                                            Check all that apply.
    Department of the Treasury                               Contingent
    Ogden, UT, 84201-0052                                    Unliquidated
                                                             Disputed
                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                8
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Mark Weaver                                             As of the petition filing date, the claim is: $______________________
                                                                                                            44,504.35               $_________________
                                                            Check all that apply.
    2 MacArthur Place
    Ste. 800                                                 Contingent
    Santa Ana, CA, 92707                                     Unliquidated
                                                            
                                                            ✔ Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Wages, Salaries, Commissions
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                4
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           9,404.51
    Stephanie Kaitz                                                                                                                 $_________________
                                                            Check all that apply.
    2 MacArthur Place
                                                             Contingent
    Ste. 800                                                 Unliquidated
    Santa Ana, CA, 92707                                     Disputed
                                                            Basis for the claim:
    Date or dates debt was incurred                          Wages, Salaries, Commissions
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔
                                                                 No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                               4


  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               7
                                                                                                                                         page 1 of ___
                Case 24-20022
               Pandora Marketing LLC       Doc 1        Filed 01/31/24 Entered 01/31/24 15:37:40 Desc Main
  Debtor       _______________________________________________________
                Name                                     Document     Page 19 of Case
                                                                                  47 number (if known)_____________________________________
 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                 Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    American Best Credit                                                                                                      84,851.00
                                                                                                                            $________________________________
                                                                            Contingent
    30211 Avenida De Las Banderas                                           Unliquidated
    Ste. 200                                                                Disputed
    Rancho Santa Margarita, CA, 92688                                                              Monies Loaned / Advanced
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔ No
                                                                            Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    American Express                                                       Check all that apply.                              503,910.09
                                                                                                                            $________________________________
    20500 Belshaw Ave.                                                      Contingent
    Carson, CA, 90746                                                       Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:
                                                                                                   Credit Card Debt


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔ No
    Last 4 digits of account number            __________________           Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Anthem Inc. Insurance                                                                                                     33,644.64
                                                                                                                            $________________________________
                                                                            Contingent
    8950 Lyra Dr.                                                           Unliquidated
    Ste. 300                                                                Disputed
    Columbus, OH, 43240
                                                                           Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔ No

                                                                            Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    AVM Investment Group LLC                                               Check all that apply.
                                                                                                                              255,931.90
                                                                                                                            $________________________________
    20162 SW Birch St.                                                      Contingent
    Ste. 180                                                                Unliquidated
    Newport Beach, CA, 92660                                                Disputed
                                                                            Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                             No
                                                                            Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Bradford Edwards & Varlack LLP                                                                                            1,837,738.76
                                                                                                                            $________________________________
                                                                           Check all that apply.
    12 East 49th St.                                                        Contingent
    11th Floor                                                              Unliquidated
    New York, NY, 10017                                                     Disputed
                                                                           Basis for the claim:
                                                                                                   Debt Counseling / Attorneys

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔ No
                                                                            Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Broadway Advance                                                                                                          108,000.00
                                                                                                                            $________________________________
                                                                           Check all that apply.
    241 37th St.                                                            Contingent
    Brooklyn, NY, 11232                                                     Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:    Monies Loaned / Advanced

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                             No
                                                                            Yes

    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                               page __    7
                                                                                                                                                        2 of ___
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  Debtor          _______________________________________________________
                  Name                                Document     Page 20 of Case
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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             68,841.25
                                                                                                                     $________________________________
 CloudFund LLC                                                        Contingent
 400 Rella Blvd.                                                      Unliquidated
 Ste. 165-101                                                         Disputed
 Suffern, NY, 10901
                                                                     Basis for the claim: Monies Loaned / Advanced



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       744,770.33
                                                                                                                     $________________________________
 DIVVY
 6220 America Center Dr.                                              Contingent
 Ste. 100                                                             Unliquidated
 San Jose, CA, 9502                                                   Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 EBF Holdings LLC d/b/a Everest Business                             Check all that apply.
                                                                                                                      31,062.50
                                                                                                                     $________________________________
 Funding d/b/a EBF                                                    Contingent
 102 W. 38th St.                                                      Unliquidated
 6th Floor                                                            Disputed
 New York, NY, 10018
                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      373,312.00
                                                                                                                     $________________________________
 Everlaw                                                             Check all that apply.
 1501 North Plano Rd.                                                 Contingent
 Ste. 100                                                             Unliquidated
 Richardson, TX, 75081                                                Disputed
                                                                     Basis for the claim: Debt Counseling / Attorneys



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ganett Media                                                        Check all that apply.
                                                                                                                       160,000.00
                                                                                                                     $________________________________
 7950 Jones Branch Dr.                                                Contingent
 McLean, VA, 22107                                                    Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                     7
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  Debtor          _______________________________________________________
                  Name                                Document     Page 21 of Case
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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             40,000.00
                                                                                                                     $________________________________
 Intermedia Advertising                                               Contingent
 22120 Carendon St.                                                   Unliquidated
 #3000                                                                Disputed
 Woodland Hills, CA, 91367
                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       30,000.00
                                                                                                                     $________________________________
 Kaiser
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Law Office of Ellis George Cipollone                                Check all that apply.
                                                                                                                      934,434.06
                                                                                                                     $________________________________
 2121 Avenue of the Stars                                             Contingent
 #3000                                                                Unliquidated
 Los Angeles, CA, 90067                                               Disputed
                                                                     Basis for the claim: Debt Counseling / Attorneys



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      108,000.00
                                                                                                                     $________________________________
 Logik Systems Inc.                                                  Check all that apply.
 Dept. LA 25121                                                       Contingent
 Pasadena, CA, 91185                                                  Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mr. Advance LLC                                                     Check all that apply.
                                                                                                                       62,935.25
                                                                                                                     $________________________________
 35-12 19th Ave.                                                      Contingent
 Ste. 3W                                                              Unliquidated
 Astoria, NY, 11105                                                   Disputed
                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                     7
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                                                                                                                                            page __
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                  Pandora Marketing LLC   Doc 1      Filed 01/31/24 Entered 01/31/24 15:37:40 Desc Main
  Debtor          _______________________________________________________
                  Name                                Document     Page 22 of Case
                                                                               47 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             191,453.93
                                                                                                                     $________________________________
 Nardella & Nardella PLLC                                             Contingent
 135 W. Central Blvd.                                                 Unliquidated
 Unit 300                                                             Disputed
 Orlando, FL, 32801
                                                                     Basis for the claim: Debt Counseling / Attorneys



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       850,000.00
                                                                                                                     $________________________________
 One America
 One America Square                                                   Contingent
 P.O. Box 368                                                         Unliquidated
 Indianapolis, IN, 46206                                              Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Pioneer Production Services LLC                                     Check all that apply.
                                                                                                                      38,975.00
                                                                                                                     $________________________________
 1615 S. Congress Ave.                                                Contingent
 Delray Beach, FL, 33445                                              Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      116,000.00
                                                                                                                     $________________________________
 Sinclair Broadcast Group Inc.                                       Check all that apply.
 10706 Beaver Dam Road                                                Contingent
 Cockeysville, MD, 21030                                              Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stripe                                                              Check all that apply.
                                                                                                                       124,831.26
                                                                                                                     $________________________________
 354 Oyster Point Blvd.                                               Contingent
 South San Francisco, CA, 94080                                       Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                     7
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                                                                                                                                            page __
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  Debtor       _______________________________________________________
               Name                                  Document     Page 23 of Case
                                                                              47 number (if known)_____________________________________
Pa rt 2 :   Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             43,130.16
                                                                                                                    $________________________________
 Wilson Elser Moskowitz Edelman & Dicker                             Contingent
 150 E. 42nd St.                                                     Unliquidated
 New York, NY                                                        Disputed
                                                                    Basis for the claim: Debt Counseling / Attorneys



                                                                    Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
     Last 4 digits of account number         ___________________

3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                     Contingent
                                                                     Unliquidated
                                                                     Disputed
                                                                    Basis for the claim:



     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
     Last 4 digits of account number         ___________________
                                                                     No
                                                                     Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                     Contingent
                                                                     Unliquidated
                                                                     Disputed
                                                                    Basis for the claim:



     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
     Last 4 digits of account number         __________________      No
                                                                     Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                     Contingent
                                                                     Unliquidated
                                                                     Disputed
                                                                    Basis for the claim:



     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___________________     Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                     Contingent
                                                                     Unliquidated
                                                                     Disputed
                                                                    Basis for the claim:



     Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___________________     Yes



    Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                      7
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 Debtor        _______________________________________________________
               Name                                  Document     Page 24 of Case
                                                                              47 number (if known)_____________________________________
Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                         Total of claim amounts



5a. Total claims from Part 1                                                                  5a.
                                                                                                           1,235,684.22
                                                                                                         $_____________________________




5b. Total claims from Part 2                                                                  5b.   +      6,741,822.13
                                                                                                         $_____________________________




5c. Total of Parts 1 and 2                                                                                 7,977,506.35
                                                                                              5c.        $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                  page __    7
                                                                                                                                       7 of ___
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                                                         Document     Page 25 of 47
 Fill in this information to identify the case:

             Pandora Marketing LLC
 Debtor name __________________________________________________________________

                                         District of Wyoming
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                       11
                                                                    Chapter _____



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease


         State what the contract or
 2.1     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.2     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.3     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                       1
                                                                                                                                            page 1 of ___
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 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Pandora Marketing LLC

                                         District of Wyoming
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
       
       ✔ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1                                                                                                                                          D
                                                                                                                                              E/F
                                                                                                                                              G




 2.2
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.3
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.4
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.5
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.6
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
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Fill in this information to identify the case:
             Pandora Marketing LLC
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: District of Wyoming    District of _________
                                                                              (State)
Case number (If known):   _________________________                                              ___________________________________________



                                                                                                                                        Check if this is an
                                                                                                                                           amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                      04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

    
    ✔ None
            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                     Gross revenue
            may be a calendar year                                                            Check all that apply                   (before deductions and
                                                                                                                                     exclusions)

           From the beginning of the                                                            Operating a business
           fiscal year to filing date:     From ___________         to     Filing date          Other                               $_____________________
                                                  MM / DD / YYYY


           For prior year:                 From ___________         to     ___________          Operating a business                $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other
           For the year before that:       From ___________         to     ___________          Operating a business
                                                  MM / DD / YYYY            MM / DD / YYYY                                           $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     
     ✔ None

                                                                                              Description of sources of revenue      Gross revenue from each
                                                                                                                                     source
                                                                                                                                     (before deductions and
                                                                                                                                     exclusions)

           From the beginning of the
                                                                                              ___________________________           $__________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________           $__________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________           $__________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
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                Pandora Marketing LLC
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name




 Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
    adjusted on 4/01/23 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None
     ✔
            Creditor’s name and address                        Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.

            __________________________________________                        $_________________                 Secured debt
            Creditor’s name
                                                                                                                 Unsecured loan repayments

                                                                                                                 Suppliers or vendors

                                                                                                                 Services

                                                                                                                 Other _______________________________


     3.2.

                                                                              $_________________                 Secured debt
            __________________________________________
            Creditor’s name                                                                                      Unsecured loan repayments

                                                                                                                 Suppliers or vendors

                                                                                                                 Services

                                                                                                                 Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

     
     ✔ None
            Insider’s name and address                         Dates          Total amount or value        Reasons for payment or transfer
     4.1.

            __________________________________________       _________       $__________________
            Insider’s name

                                                             _________

                                                             _________


            Relationship to debtor
            __________________________________________



     4.2.   __________________________________________
            Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




            Relationship to debtor

            __________________________________________



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                 Pandora Marketing LLC
Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                  Date                Value of property
     5.1.

            __________________________________________                                                                      ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                                 _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                   Date action was        Amount
                                                                                                                            taken

             __________________________________________                                                                    _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

      None
             Case title                              Nature of case                           Court or agency’s name and address                 Status of case
          Bluegreen Vacations Unlimited Inc. et                                              U.S. District court Southern District of Florida
     7.1. al., v. Timeshare Lawyers, P.A., et al     Suit on federal question                (Miami)                                             
                                                                                                                                                 ✔ Pending
                                                                                                                                                  On appeal
             Case number                                                                     175 NW 1st Ave.                                      Concluded
                                                                                             Miami, FL 33128
      1:20-cv-24681
             _________________________________

             Case title                                                                       Court or agency’s name and address
            Diamond Resorts U.S. Collection                                                  U.S. District Court Central District of             
                                                                                                                                                 ✔ Pending
     7.2.
            Development, LLC et al v. Pandora                                                California                                           On appeal
            Marketing LLC
             Case number
                                                                                                                                                  Concluded
                                                     suit regarding federal question         300 E. Green St.
                                                                                             Pasadena, CA 91101
      2:20-cv-05486
             _________________________________


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                 Pandora Marketing LLC
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name


                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



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               Pandora Marketing LLC
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




 Part 6:     Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

      None
           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

           Bradford Edwards & Varlack LLP
           __________________________________________
   11.1.
                                                                                                                         ______________      $_________
           Address

           12 East 49th St.
           11th Floor
           New York, NY 10017




           Email or website address
           _________________________________

           Who made the payment, if not debtor?


           __________________________________________


           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

           Everlaw
           __________________________________________
   11.2.
                                                                                                                         ______________      $_________
           Address
           1501 North Plano Rd.
           Ste. 100
           Richardson, TX 75081


           Email or website address


           __________________________________________


           Who made the payment, if not debtor?

           __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔ None
           Name of trust or device                            Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


           __________________________________________                                                                     ______________      $_________

           Trustee

           __________________________________________




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               Pandora Marketing LLC
Debtor        _______________________________________________________                            Case number (if known)_____________________________________
              Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔ None

           Who received transfer?                              Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.   __________________________________________                                                                     ________________     $_________

           Address




           Relationship to debtor

           __________________________________________




           Who received transfer?                                                                                         ________________     $_________

   13.2.   __________________________________________

           Address




           Relationship to debtor

           __________________________________________



 Part 7:     Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
           Address                                                                                              Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




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Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name




 Part 8:       Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔ No. Go to Part 9.
      Yes. Fill in the information below.
           Facility name and address                         Nature of the business operation, including type of services the            If debtor provides meals
                                                             debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.1.   ________________________________________                                                                                      ____________________
           Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                     How are records kept?


                                                                                                                                         Check all that apply:

                                                                                                                                          Electronically
                                                                                                                                          Paper
                                                             Nature of the business operation, including type of services the            If debtor provides meals
           Facility name and address                         debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.2.                                                                                                                                 ____________________
           ________________________________________
           Facility name


                                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                         Check all that apply:
                                                                                                                                          Electronically
                                                                                                                                         Paper

 Part 9:       Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

      No.
     
     ✔ Yes. State the nature of the information collected and retained. ___________________________________________________________________
                                                                        social security numbers, addresses

               Does the debtor have a privacy policy about that information?
             
              No
             
             ✔ Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔ No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?
             No. Go to Part 10.
             Yes. Fill in below:
                      Name of plan                                                                             Employer identification number of the plan

                      _______________________________________________________________________                  EIN: ___________________________________

                    Has the plan been terminated?
                     No
                     Yes

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Debtor        Pandora Marketing LLC
              _______________________________________________________                             Case number (if known)_____________________________________
              Name




 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔ None

           Financial institution name and address          Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.   ______________________________________          XXXX–__________                 Checking                  ___________________      $__________
           Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.   ______________________________________          XXXX–__________                 Checking                  ___________________      $__________
           Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔ None
            Depository institution name and address        Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

           ______________________________________                                                                                                     No
           Name                                                                                                                                       Yes


                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔ None
            Facility name and address                      Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
           ______________________________________
           Name
                                                                                                                                                       Yes



                                                            Address




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              Pandora Marketing LLC
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔ None


          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:     Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔ No

      Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                    Pending
                                                     _____________________________________
          Case number                                Name                                                                                      On appeal
          _________________________________                                                                                                    Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔ No

      Yes. Provide details below.
         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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Debtor         _______________________________________________________                       Case number (if known)_____________________________________
               Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔ No

      Yes. Provide details below.
           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


           __________________________________       ______________________________________                                                     __________
           Name                                     Name




 Part 13:         Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔ None



           Business name and address                 Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.   __________________________________
           Name                                                                                            Dates business existed



                                                                                                           From ___________              To ____________




           Business name and address                 Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
           __________________________________
           Name                                                                                            Dates business existed



                                                                                                           From ___________              To ____________




           Business name and address                 Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
           __________________________________
           Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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Debtor            _______________________________________________________                      Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

            
            ✔ None

              Name and address                                                                              Dates of service

                                                                                                            From _______
   26a.1.     __________________________________________________________________________________
              Name
                                                                                                            To _______




              Name and address                                                                              Dates of service

                                                                                                            From _______
   26a.2.     __________________________________________________________________________________
              Name
                                                                                                            To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔ None


                   Name and address                                                                         Dates of service

                                                                                                            From _______
         26b.1.    ______________________________________________________________________________
                   Name
                                                                                                            To _______




                                                                                                            Dates of service
                   Name and address

                                                                                                            From _______
         26b.2.
                   ______________________________________________________________________________
                   Name                                                                                     To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
            
            ✔ None

                   Name and address                                                                         If any books of account and records are
                                                                                                            unavailable, explain why


         26c.1.    ______________________________________________________________________________
                   Name




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Debtor              _______________________________________________________                     Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              
              ✔ None


                     Name and address


           26d.1.    ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔ No

      Yes. Give the details about the two most recent inventories.


               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




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Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




           Name of the person who supervised the taking of the inventory                      Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

           ______________________________________________________________________             _______         $___________________

           Name and address of the person who has possession of inventory records


   27.2.   ______________________________________________________________________
           Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                     Address                                                  Position and nature of any interest      % of interest, if any




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

      Yes. Identify below.
   Name                                                                                                 Position and nature of any   Period during which position
                                               Address                                                  interest                     or interest was held


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     
     ✔ No

      Yes. Identify below.
                                                                                     Amount of money or description      Dates               Reason for providing
           Name and address of recipient                                             and value of property                                   the value

   30.1.   ______________________________________________________________             _________________________          _____________
           Name


                                                                                                                         _____________


                                                                                                                         _____________

           Relationship to debtor                                                                                        _____________

           ______________________________________________________________                                                _____________
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Debtor          _______________________________________________________                            Case number (if known)_____________________________________
                Name




             Name and address of recipient
                                                                                           __________________________     _____________

   30.2      ______________________________________________________________
             Name                                                                                                         _____________

                                                                                                                          _____________



                                                                                                                          _____________


             Relationship to debtor                                                                                       _____________

             ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔ No

      Yes. Identify below.
             Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                         corporation

             ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔ No

      Yes. Identify below.

             Name of the pension fund                                                                    Employer Identification number of the pension fund

             ______________________________________________________________                             EIN: ____________________________



 Part 14:           Signature and Declaration


            WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
            connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
            18 U.S.C. §§ 152, 1341, 1519, and 3571.

            I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
            is true and correct.

            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on      01/31/2024
                             _________________
                              MM / DD / YYYY



            /s/ William Wilson
            ___________________________________________________________                               William Wilson
                                                                                         Printed name _________________________________________________
            Signature of individual signing on behalf of the debtor

                                                Chairman of Board
             Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
          No
         
         ✔ Yes




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 Debtor Name                                                                           Case number (if known)



                                               Continuation Sheet for Official Form 207

7) Legal Actions

Wyndham Vacation Ownership, Inc. et al, v. Slattery, Sobel & Decamp, LLP et al

6:19-cv-01908

Trademark Infringement (Lanham Act)

U.S. District Court Middle District of Florida

401 W. Central Blvd., Orlando, FL 32801

Pending

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11) Payments related to bankruptcy

Nardella &                135 W. Central
Nardella PLLC             Blvd. Unit 300,
                           Orlando, FL
                          32801

Wilson Elser              150 E. 42nd St.
Moskowitz                 , New York, NY
Edelman &
Dicker

Law Office of             2121 Avenue of
Ellis George              the Stars
Cipollone                 #3000, Los
                          Angeles, CA
                          90067




  Official Form 207                            Statement of Financial Affairs for Non-Individuals
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                             United States Bankruptcy Court
                             District of Wyoming




         Pandora Marketing LLC
In re:                                                         Case No.

                                                               Chapter    11
                     Debtor(s)




                             Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              01/31/2024                        /s/ William Wilson
Date:
                                                Signature of Individual signing on behalf of debtor

                                                Chairman of Board
                                                Position or relationship to debtor
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American Best Credit                                 Intermedia Advertising
30211 Avenida De Las Banderas                        22120 Carendon St.
Ste. 200                                             Woodland Hills, CA 91367
Rancho Santa Margarita, CA 92688

                                                     Internal Revenue Service
American Express                                     Department of the Treasury
20500 Belshaw Ave.                                   Ogden, UT 84201-0052
Carson, CA 90746

                                                     Kaiser
Anthem Inc. Insurance
8950 Lyra Dr.
Ste. 300                                             Law Office of Ellis George Cipollone
Columbus, OH 43240                                   2121 Avenue of the Stars
                                                     Los Angeles, CA 90067

AVM Investment Group LLC
20162 SW Birch St.                                   Logik Systems Inc.
Ste. 180                                             Dept. LA 25121
Newport Beach, CA 92660                              Pasadena, CA 91185


Bradford Edwards & Varlack LLP                       Mark Weaver
12 East 49th St.                                     2 MacArthur Place
11th Floor                                           Ste. 800
New York, NY 10017                                   Santa Ana, CA 92707


Broadway Advance                                     Mr. Advance LLC
241 37th St.                                         35-12 19th Ave.
Brooklyn, NY 11232                                   Ste. 3W
                                                     Astoria, NY 11105

CloudFund LLC
400 Rella Blvd.                                      Nardella & Nardella PLLC
Ste. 165-101                                         135 W. Central Blvd.
Suffern, NY 10901                                    Unit 300
                                                     Orlando, FL 32801

DIVVY
6220 America Center Dr.                              One America
Ste. 100                                             One America Square
San Jose, CA 9502                                    P.O. Box 368
                                                     Indianapolis, IN 46206

EBF Holdings LLC d/b/a Everest Business Fundi
102 W. 38th St.                                      Pioneer Production Services LLC
6th Floor                                            1615 S. Congress Ave.
New York, NY 10018                                   Delray Beach, FL 33445


Everlaw                                              Sinclair Broadcast Group Inc.
1501 North Plano Rd.                                 10706 Beaver Dam Road
Ste. 100                                             Cockeysville, MD 21030
Richardson, TX 75081

                                                     Stephanie Kaitz
Ganett Media                                         2 MacArthur Place
7950 Jones Branch Dr.                                Ste. 800
McLean, VA 22107                                     Santa Ana, CA 92707
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Stripe
354 Oyster Point Blvd.
South San Francisco, CA 94080


Wilson Elser Moskowitz Edelman & Dicker
150 E. 42nd St.
New York, NY
     B2030Case
          (Form 24-20022
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                                      United States Bankruptcy Court
                                                                  District of Wyoming
                                               __________________________________
     In re Pandora Marketing LLC
                                                                                                             Case No. _______________

    Debtor                                                                                                            11
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         25,000.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 25,000.00
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   0.00
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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      d. [Other provisions as needed]
preparation, filing and completion of Chapter 7 bankruptcy




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
any contested matters
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                                          CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for
         payment to me for representation of the debtor(s) in this bankruptcy proceeding.

     01/31/2024                        /s/ seth shumaker, 6-3818
   _____________________              _________________________________________
   Date                                      Signature of Attorney
                                       Seth Shumaker, Attorney at Law
                                      _________________________________________
                                           ​Name of law firm
                                       2 N. Main
                                       Ste. 103
                                       Sheridan, WY 82801
